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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION


   EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
                Plaintiff, Counter-defendant,
                     v.
   APPLE INC.,                                        OBJECTIONS TO SPECIAL MASTER
                     Defendant, Counterclaimant.      DETERMINATIONS ISSUED
                                                      JANUARY 27, 2025 REGARDING
                                                      APPLE’S RE-REVIEWED
                                                      DOCUMENTS



  The Honorable Thomas S. Hixson
  San Francisco Courthouse
  Courtroom E - 15th Floor
  450 Golden Gate Avenue
  San Francisco, CA 94102

  Dear Magistrate Judge Hixson,
          Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
  Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following Objections to
  certain of the Special Masters’ privilege determinations issued on January 27, 2025, regarding
  Apple’s production of re-reviewed documents.
         European Union Filings
        Entry Nos. 1580 (PRIV-APL-EG_00139217), 1581 (PRIV-APL-EG_00139242), 1582
(PRIV-APL-EG_00139256), 1583 (PRIV-APL-EG_00139288), 1584 (PRIV-APL-EG_00139294),
1585 (PRIV-APL-EG_00139320), 1586 (PRIV-APL-EG_00139330), 1587 (PRIV-APL-
EG_00139365), 1588 (PRIV-APL-EG_00139408), 1589 (PRIV-APL-EG_00139414), 1593 (PRIV-
APL-EG_00139535), appear to be compliance-related documents submitted to the European Union
(“EU”). These documents are attached to an email deemed privilege, an assertion Epic is not
challenging. The attachments themselves, however, as public documents, are not privileged, and
the privileged parent email does not make them privileged; absent the parent email, these
documents, in and of themselves, do not disclose the content of any legal advice. The documents
thus should not be withheld.
         Email Chain Re Spotify Data
        Entry No. 1578 (PRIV-APL-EG_00139200) appears to be an email chain addressing a
Spotify Music data request. The sender is a non-attorney, as are most of the recipients (all but one).
It thus does not appear that the primary purpose of this document is to seek or convey legal advice,
and to the extent some portion of the email chain does seek or convey legal advice, Apple should
have sought to redact it, rather than seek to withhold the document entirely.
         Email Chain Re Epic Injunction Compliance Plan
       Entry No. 1803 (PRIV-APL-EG_00142689) appears to be an email chain discussing the
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timeline for Apple’s response to the injunction issued by the district court. The email was initially
sent by a non-lawyer, and the email chain appears to include multiple non-legal, business personnel,
suggesting a business purpose for the email discussion (or at minimum, a dual business and legal
purpose). To the extent portions of the email contain legal advice, Apple should have sought to
redact these portions, rather than seek to withhold the entire document.
         Email Chain Re Notarization in the EU
         Entry No. 2001 (PRIV-APL-EG_00145056) appears to be an email chain discussing
requirements for notarization of apps in the EU, which is a publicly-known security-related
technical process Apple implemented in response to the DMA. The email is from non-counsel and
is sent to three non-lawyers and one lawyer. Nothing in the document description suggests it is
made primarily for a legal purpose, and to the extent some portions of the email include a request
for or actual legal advice, Apple should have sought to redact these portions, rather than seek to
withhold the document entirely.

   DATED: January 31, 2025                            CRAVATH, SWAINE & MOORE LLP
                                                      By: /s/ Yonatan Even
                                                      Counsel for Plaintiff Epic Games, Inc.




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